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                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                           CR-13-65-GF-BMM

                         Plaintiff,
    vs.                                                   ORDER

FRANCIS KAY ONSTAD,

                        Defendant.


      Francis Onstad filed a motion for early termination of supervision. (Doc.

407). The Court conducted a hearing on the motion on October 1, 2019. For the

reasons below, the Court grants Onstad’s motion.

      Onstad pleaded guilty to Conspiracy to Defraud the United States,

Conspiracy to Submit False Claims against the United States, Theft or

Embezzlement from an Indian Tribal Government Receiving Federal Funding, and

Federal Income Tax Evasion. (Doc. 137). The Court sentenced Onstad to 38

months imprisonment. (Doc. 249). Onstad began her term of supervised release

on May 5, 2017. Onstad’s probation officer reported that Onstad has complied

with all of her supervision conditions, with the exception of restitution. Although

Onstad makes monthly payments, she and her codefendants still owe

approximately $865,000 in restitution.
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      Federal law authorizes a defendant to move for termination of her

supervised release after successfully completing one year if the Court is satisfied

that such action remains “warranted by the conduct of the defendant and the

interest of justice.” 18 U.S.C. § 3564(c). The Court must consider the factors in 18

U.S.C. § 3553(a) when evaluating whether to terminate a term of supervised

release.

      Onstad has complied with her supervision conditions and has demonstrated

her ability to conform her conduct to the law. Onstad poses no threat to the

community. Although she still owes restitution, Onstad continues to make

monthly payments. The factors in 18 U.S.C. § 3553(a) support an early

termination of Onstad’s supervised release.

       Accordingly, IT IS ORDERED:

      1.     Defendant’s Motion for Early Termination of Supervised Release

(Doc. 407) is GRANTED.

      2.     Defendant is DISCHARGED from supervised release.

       DATED this 2nd day of October, 2019.
